Case 1:17-cr-00034-JRH-BKE Document 303-1 Filed 06/06/18 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

AUGUSTA DIVISION
UNITED STATES OF AMERICA NOTICE
v. CR117-034

REALITY LEIGH WINNER

TAKE NOTICE that a proceeding in this case has been scheduled for the place, date and time set
forth below:

TYPE OF PROCEEDING: PRETRIAL CONFERENCE
DATE AND TIME: WEDNESDAY, OCTOBER 10, 2018 AT 10:00 A.M.

TYPE OF PROCEEDING: JURY SELECTION AND TRIAL
DATE AND TIME: MONDAY, OCTOBER 15, 2018 AT 9:00 A.M.

Please allow extra arrival time for parking and to clear security, and be prepared to produce
personal identification at the security desk when entering the building. Cell phones and pagers
are not permitted.

PLACE; UNITED STATES DISTRICT COURT
COURTROOM TWO
FEDERAL JUSTICE CENTER
600 JAMES BROWN BOULEVARD
AUGUSTA, GEORGIA

Proposed voir dire questions and requests to charge are to be filed 7 days prior to jury selection.

All trial exhibits (in digital format) and an exhibit list must be provided to the Court at the pretrial
conference.

Any requests for continuance or rescheduling should be in the form of a motion and filed with
the Clerk of Court.

DATE: June 6, 2018

TO: Judge Hall I hereby certify that the foregoing notice was served on the date of
USMS issuance upon each of the stated recipients by fax, personal delivery,
AUSA or electronic mail.
USPO
Defendant SCOTT POFF

Joe D, Whitley CLERK OF COURT
Matthew Scott Chester di
Brett A. Switzer BY

Thomas H. Barnard Lisa Widener, Courtroom Deputy Clerk
John C. Bell, Jr. 706-823-6467

Titus Thomas Nichols
Katherine Cicardo Mannino

